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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


     IN RE: JOHNSON & JOHNSON                         MDL No. 16-2738 (MAS) (RLS)
     TALCUM POWDER PRODUCTS
     MARKETING, SALES PRACTICES,
     AND PRODUCTS LIABILITY
     LITIGATION


     THIS DOCUMENT RELATES TO ALL CASES

                     THE PLAINTIFFS’ STEERING COMMITTEE’S
                   MOTION FOR PROTECTIVE ORDER REGARDING
                 SUBPOENA DIRECTED AT NORTHWELL HEALTH, INC.

         PLEASE TAKE NOTICE that, at 9:00 a.m. on February 5, 2024, or at such other time as

  set by the Court, Plaintiffs, by and through the Plaintiffs’ Steering Committee (PSC), will Move

  for Protective Order Regarding Subpoena Directed at Northwell Health, Inc.

         As fully discussed in Plaintiffs’ Memorandum of Law in Support of this Motion, the Court

  should issue a protective order relieving non-party Northwell Health’s, Inc. obligation to comply

  with the subpoena served by Johnson & Johnson because it seeks irrelevant information

  implicating the protected health information of non-parties.

         Plaintiffs respectfully request that the Court grant the Motion for Protective Order

  Regarding Subpoena Directed at Northwell Health, Inc.

         A proposed order is attached for the Court’s consideration.

  Dated: January 12, 2024                              Respectfully submitted,

                                                       /s/ Michelle A. Parfitt
                                                       Michelle A. Parfitt
                                                       ASHCRAFT & GEREL, LLP
                                                       1825 K Street, NW, Suite 700
                                                       Washington, DC 20006
                                                       Tel: 202-335-2600
                                                       mparfitt@ashcraftlaw.com


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                                         /s/ P. Leigh O’Dell
                                         P. Leigh O’Dell
                                         BEASLEY, ALLEN, CROW, METHVIN
                                         PORTIS & MILES, P.C.
                                         218 Commerce St.
                                         Montgomery, AL 36104
                                         Tel: 334-269-2343
                                         leigh.odell@beasleyallen.com

                                         Plaintiffs’ Co-Lead Counsel

                                         /s/ Christopher M. Placitella
                                         Christopher M. Placitella
                                         COHEN, PLACITELLA & ROTH, P.C.
                                         127 Maple Ave.
                                         Red Bank, NJ 07701
                                         Tel: 732-747-9003
                                         clpacitella@cprlaw.com

                                         Plaintiffs’ Liaison Counsel




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                                  CERTIFICATE OF SERVICE

         I hereby certify that on January 12, 2024, I electronically filed the foregoing document

  with the Clerk of the Court using the CM/ECF system which will send notification of such filing

  to the CM/ECF participants registered to receive services in this MDL.



                                                      Respectfully submitted,


                                                      /s/ Michelle A. Parfitt
                                                      Michelle A. Parfitt




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